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                             Exhibit “12”
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                                                   Statement of Work

                         This Statement of Work is valid when signed before December 31, 2021.

 This Statement of Work (“SOW”) is made and entered into as of the later of the signature dates below (“SOW Effective
 Date”), by and between Mandiant and Baker & Hostetler LLP (“Counsel”) for the benefit of Bayview Asset Management,
 LLC (“Customer”). This SOW is governed by the Master Services Agreement (the “Agreement”) dated October 4, 2019
 between Customer and Mandiant. Capitalized terms used in this SOW will have the meanings given to them in the
 Agreement. Services performed outside the Americas will be performed and invoiced by Mandiant Ireland Limited,
 regardless of which Mandiant entity is party to this SOW, and in such cases Mandiant Ireland Limited will be deemed
 “Mandiant” as set forth in this SOW. Services performed within the Americas will be performed and invoiced by
 Mandiant, Inc., regardless of which Mandiant entity is party to this SOW, and in such cases Mandiant, Inc. will be
 deemed “Mandiant” as set forth in this SOW.

 Description of Services
 Mandiant agrees to provide services (“Services”) as set forth below, as directed by Counsel for the benefit of Customer.
 1.1. Incident Response
 The objective of this professional services engagement is to assist Counsel in providing legal advice to Customer with
 responding to a suspected security incident and in anticipation of litigation that may arise from the incident. The activities
 to be performed may include but are not limited to the following:

     x   Computer security incident response support.
     x   Digital forensics, log analysis, and malware analysis support.
     x   Incident remediation assistance.
     x   Deployment support for Mandiant’s incident response technologies.
     x   Regular status reporting and project management-related activities.
     x   Reporting and/or presentations associated with findings and recommendations.

 Customer acknowledges that Mandiant may use other tools, including cloud-based technologies and email monitoring
 systems, in the course of performing Services, and agrees that Mandiant may use all such tools in its discretion.

 All parties acknowledge that Mandiant can leverage the technology stacks currently installed in Customer’s environment
 during the course of the engagement, if any (“Customer-Owned Technology”). If Mandiant determines that the
 Customer-Owned Technology cannot adequately support the performance of the Services, additional technology stacks
 may be deployed in the Customer’s environment and, in such case, will be invoiced as set forth in Section 5.

 Deliverables
 2.1. Incident Response Deliverables
 The following Deliverables will be produced for these Services during the course of this engagement:

         •    Regular Status Reporting: Mandiant will provide regular status reporting that summarizes activities
              completed, significant findings, issues requiring attention and plans for the next reporting period.
         •    Incident Response Report: If requested by Counsel, Mandiant will provide a written summary of the incident
              response results. This typically includes a summary of activity, detailed activity description, supporting
              analysis, and remediation recommendations.
         •    Executive Briefing: If requested by Counsel, Mandiant will provide an executive brief that summarizes the
              incident response, including the investigation and remedial activities.

 Any other reports (including intelligence reports), presentations, materials or other written information provided by
 Mandiant as a result of the Services are Mandiant Materials and will not be considered “Deliverables” as defined in the
 Agreement.


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        Schedule and Staffing
        The scheduling of Services under this SOW will be as mutually agreed to by all parties. The Services under this SOW
        will be provided within the twelve (12) month period from the SOW Effective Date.

        Services Fees
        All work will be performed on a time and materials basis at the rate of              for consulting Services performed.
        In consideration for the Services to be performed by Mandiant, Customer agrees to pay for actual time spent. Travel
        time related to Services performed onsite will be invoiced                             . Invoices will be issued monthly.
        If Customer is working with an insurer, Customer will be responsible for payment of all fees and expenses, regardless
        of whether the insurer provides coverage or reimbursement for all or part of the fees and expenses described herein.


        Customer will pay all invoices as set forth in the Agreement. All fees are non-cancelable and non-refundable. Customer
        agrees that this SOW represents the complete, final, and exclusive terms and conditions governing the Services. As
        such, Mandiant may invoice Customer in advance, unless otherwise stated in this SOW, without the requirement that
        Customer provide a subsequent purchase order. Any such subsequently issued purchase order shall be for
        administrative purposes only.

        Technology Fees
        Mandiant will determine the technology that is required to support the Services under this SOW. Customer agrees to
        pay technology fees from the date of delivery at the price per unit quoted in the table below. These fees will be invoiced
        monthly and charged to the nearest whole month; they are not pro-rated.

         Unit Description                                                                       Price per Unit
         Endpoint Incident Response Technology
         Cloud up to 100 nodes
         Cloud up to 1,000 nodes
         Cloud up to 10,000 nodes
         Hardware appliance, up to 10,000 nodes
         Supplemental up to 10,000 nodes
         Off-Hours Alert Monitoring
         Endpoint count: up to 500 nodes
         Endpoint count: up to 1,000 nodes
         Endpoint count: up to 5,000 nodes
         Endpoint count: up to 10,000 nodes
         Endpoint count: up to 20,000 nodes
         Endpoint count: up to 50,000 nodes
         Over 50,000 nodes
         Network Incident Response Technology



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         Unit Description                                                                      Price per Unit
         1Gb appliance (Maximum throughput 950Mbps)
         10Gb appliance (Maximum throughput 4.5Gbps)
         10Gb XL appliance (Maximum throughput 9Gbps)
         Cloud-Based Log Analysis Technology
         Instance up to 5,000 events per second, 10TB storage, 30 day retention
         Instance up to 10,000 events per second, 20TB storage, 30 day retention
         Email Incident Response Technology – Cloud with AV/AS
         100-499 inboxes
         500-999 inboxes
         1000-1999 inboxes
         2000-4999 inboxes
         5000-9999 inboxes
         >10,000 inboxes
         Managed Defense Continuous Vigilance
         Node count: up to 499 nodes
         Node count: up to 999 nodes
         Node count: up to 4,999 nodes
         Node count: up to 9,999 nodes
         Node count: up to 19,999 nodes
         Node count: up to 49,999 nodes
         Node count: up to 75,999 nodes
         Node count: up to 99,999 nodes
         Node count: up to 999,999 nodes
         Evidence Storage
         Storage of each physical evidence item
         Other
         Domestic shipping and handling of hardware
         International shipping and handling of hardware


         Custom Dark Web Search – No Report

        In addition to the technology listed in the table above, Mandiant may require the use of other tools to facilitate the
        investigation. Mandiant will request written (emailed) authorization from Customer for any charges related to the use of
        technologies not detailed in the above table.


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        Fee Estimates
        Itemized fee estimates are provided in the table below.

         Description                                                             Estimated Quantity       Estimated Cost
         Professional Services
         Incident response activities including, but not limited to:
                x    Endpoint sweeping and forensic analysis
                x    Network monitoring and analysis
                x    Log analysis                                                            450 hours
                x    Malware analysis and reverse engineering
                x    Threat analysis and intelligence
                x    Status reporting
         Incident containment planning and support                                                   50
         Reporting and out-brief including, but not limited to:
                x    Incident Investigation Report                                                 TBD
                x    Incident Remediation Report
         Technology
         Endpoint Incident Response Technology
                                                                                              2 months
         Cloud up to 1,000 nodes
         Off-Hours Alert Monitoring
                                                                                              2 months
         Endpoint count: up to 1,00 nodes
         Other
         Custom Dark Web Search – No Report                                                           1

         Total Estimated Fees



        Expenses
        Customer shall reimburse for the following expense categories that are directly attributable to work performed under
        this SOW:

            x       Travel and living expenses.
            x       Mileage in company or personal vehicles at the rate approved by the U.S. Internal Revenue Service.
            x       Computer storage media.
            x       Postage and courier services.
            x       Printing, reproduction and binding.
            x       Any other expenses resulting from the work performed under this SOW.




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        Upon request Mandiant will provide electronic copies of expense receipts for all expense related items greater than
        $25. Invoices for expenses will be issued on a monthly basis.

        Assumptions
        1. All work activities will be performed without day and time restrictions.
        2. If any factor outside Mandiant’s control, including those caused by Customer or Customer requirements (such as
           requirements to refrain from operating technology during specific times), causes delays in implementing technology
           needed for Mandiant to perform the Services or cause Services to take longer than expected, then notwithstanding
           any fixed fees, Customer will be invoiced for technology fees for the period of any such delays.
        3. Estimated professional fees do not include any hardware, software, licensing, maintenance, or support costs of any
           Mandiant or other third-party product or service suggested by Mandiant as we conduct the activities outlined within
           this SOW.
        4. Mandiant will provide Deliverables to Customer throughout this engagement. Draft Deliverables are considered final
           upon confirmation from Customer (written or oral) or ten business days after their submission date from Mandiant
           to Customer, whichever is earlier.
        5. When Mandiant’s personnel are performing Services on site at Customer’s premises, Customer will allocate
           appropriate working space and physical access for all Mandiant assigned personnel.
        6. Customer represents that all information provided is true and accurate and that Customer owns or is authorized to
           represent the owners of the systems, facilities, and/or devices described in connection with the services. Customer
           represents that it has obtained all permissions necessary for Mandiant to perform the services described herein.
           Customer will hold Mandiant harmless against any claims, disputes, or issues arising or related to foregoing
           representations.
        7. Customer will make available key individuals that can best help plan operations around security event monitoring,
           analysis, threat intelligence, and incident response.
        8. Any changes to the scope of Services or this SOW must be mutually agreed upon in writing by all parties.

        Contact Information
        Customer will provide Mandiant with points of contact information in the following table:

         Business Line Contact
         Name:
         Title:
         Email:
         Phone:
         Street:
         City:
         State:
         Zip:

         Payables Contact
         Name:
         Title:
         Email:


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         Phone:
         Street:
         City:
         State:
         Zip:


         Claim Manager Contact

         Name              ,,# .+$%(,,(+)

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            Signatures
    Mandiant and Customer have executed this Statement of Work as of the SOW Effective Date.


                                                 [Signature Page Follows]




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            Signature Block
                                                                        Bayview Asset Management, LLC
                Mandiant, Inc.


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                Baker & Hostetler LLP


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